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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on March 16, 2023

UNITED STATES OF AMERICA : CRIMINAL NO.
¥ : MAGISTRATE NO. 23-mj-00005
TONEY SHELDON BRAY, and : VIOLATIONS:
ETHAN AARON BRAY, > 180U.S.C. § 231(a)(3)
: (Civil Disorder)
Defendants. > 18U.S.C. § 641

(Theft of Government Property)

18 U.S.C. § 1752(a)(1)

(Entering and Remaining in a Restricted
Building or Grounds)

18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in a Capitol Building)
40 U.S.C. § 5104(e)(2)(G)

(Parading, Demonstrating, or Picketing in
a Capitol Building)

INDICTMENT

The Grand Jury charges that:
COUNT ONE
On or about January 6, 2021, within the District of Columbia, TONEY SHELDON BRAY
and ETHAN AARON BRAY committed and attempted to commit an act to obstruct, impede, and
interfere with a law enforcement officer, that is, an officer lawfully engaged in the lawful
performance of his/her official duties incident to and during the commission of a civil disorder

which in any way and degree obstructed, delayed, and adversely affected commerce and the

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movement of any article and commodity in commerce and the conduct and performance of any
federally protected function.
(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

COUNT TWO

On or about January 6, 2021, within the District of Columbia, TONEY SHELDON BRAY
did embezzle, steal, purloin, knowingly convert to his use and the use of another, and without
authority, sold, conveyed and disposed of any record, voucher, money and thing of value of the
United States and any department and agency thereof, that is, a United States Capitol Police riot
shield.

(Theft of Government Property, in violation of Title 18, United States Code, Section
641)

COUNT THREE
On or about January 6, 2021, in the District of Columbia, TONEY SHELDON BRAY
and ETHAN AARON BRAY did knowingly enter and remain in a restricted building and
grounds, that is, any posted, cordoned-off, and otherwise restricted area within the United States
Capitol and its grounds, where the Vice President was and would be temporarily visiting, without
lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))

COUNT FOUR
On or about January 6, 2021, in the District of Columbia, TONEY SHELDON BRAY
and ETHAN AARON BRAY did knowingly, and with intent to impede and disrupt the orderly
conduct of Government business and official functions, engage in disorderly and disruptive
conduct in and within such proximity to, a restricted building and grounds, that is, any posted,

cordoned-off, and otherwise restricted area within the United States Capitol and its grounds, where

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the Vice President was and would be temporarily visiting, when and so that such conduct did in
fact impede and disrupt the orderly conduct of Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))

COUNT FIVE
On or about January 6, 2021, in the District of Columbia, TONEY SHELDON BRAY
and ETHAN AARON BRAY willfully and knowingly engaged in disorderly and disruptive
conduct within the United States Capitol Grounds and in any of the Capitol Buildings with the
intent to impede, disrupt, and disturb the orderly conduct of a session of Congress and either House
of Congress, and the orderly conduct in that building of a hearing before or any deliberation of, a
committee of Congress or either House of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))

COUNT SIX
On or about January 6, 2021, in the District of Columbia, TONEY SHELDON BRAY
and ETHAN AARON BRAY willfully and knowingly paraded, demonstrated, and picketed in
any United States Capitol Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))

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A TRUE BILL:

FOREPERSON.

_ Attorney of the United States in
and for the District of Columbia.
